     Case 2:08-cv-00080-RFC-RWA Document 18 Filed 02/22/10 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MONTANA
                                  BUTTE DIVISION




 TIMOTHY JONES,
                                                 I
                Plaintiff,
                                                 I        Case No. CV 08-80-BU-RWA



 THE UNITED STATES OF AMERICAN,

                 Defendant.
                                                 I
                                 ORDER OF DISMISSAL

       At Butte in said District this 22"* day of February, 2010.

       Upon consideration of the Stipulation for Dismissal entered into between the parties,

       IT IS ORDERED the Stipulation for Dismissal is approved and the claims of Timothy

Jones against the United States are dismissed with prejudice as fully compromised and settled on

the merits, each party to bear their own costs and expenses.

       Dated this 22ndday of February, 2010.



                                                     By Is1 Richard W. Anderson
                                                     RICHARD W. ANDERSON
                                                     UNITED STATES MAGISTRATE JUDGE
